     Case 2:12-cr-00175-KJD-VCF        Document 32       Filed 05/23/12    Page 1 of 1




 1
 2
 3                              UNITED STATES DISTRICT COURT
 4                                    DISTRICT OF NEVADA
 5                                              ***
 6 UNITED STATES OF AMERICA,                     )
                                                 )
 7                 Plaintiff,                    )
                                                 )
 8 vs.                                           )      2:12-mj-00291-CWH
                                                 )
 9 DARYL GALTNEY,                                )      ORDER
                                                 )
10                  Defendant.                   )
   ____________________________________)
11
           This matter is before the Court on Defendant’s counsel’s Sealed Motion to Withdraw
12
   (#16), filed on May 17, 2012.
13
           The Federal Public Defender was appointed to represent Janice Daryl Galtney on May 10,
14
   2012. By way of the motion to withdraw (#16), the Court has been advised that a conflict of
15
   interest exists precluding the Federal Public Defender from further representing Defendant
16
   Galtney in this matter. Accordingly,
17
           IT IS HEREBY ORDERED that Defendant’s counsel’s Sealed Motion to Withdraw
18
   (#16) is granted.
19
           IT IS FURTHER ORDERED that the Motion Hearing currently set for May 31, 2012
20
   regarding the Motion to Withdraw (#16) is vacated.
21
           IT IS FURTHER ORDERED that Lance Maningo, Esq. is appointed as counsel for
22
   Daryl Galtney in place of the Federal Public Defender for all future proceedings. The Federal
23
   Public Defender shall forward the file to Mr. Maningo forthwith.
24
           DATED this 22nd day of May 2012.
25
26                                                    _________________________
                                                      C.W. Hoffman, Jr.
27                                                    United States Magistrate Judge
28
